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KEITH R. PURCELL
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August 21, 2024

To: Honorable Judge Amit P. Mehta
District of Columbia, District Court

RE: Michael Daniele

Dear Judge Mehta,

My name is Keith Purcell. 1 am a resident of Holmdel, NJ, and I am writing to you in support of my friend,
Michael Daniele.

My wife, Maggie and I have known Mike since 2013, when our daughters met in preschool. Our daughters
have remained best friends since preschool, and over the past 11 years our families have become close

friends.

Our families spend time together every 2 to 3 weeks, often hosting each other for dinner; visiting Holmdel
Park; playing board games around the dining room table, and chatting around our fire pit. We also see each
other for birthdays and at other social occasions with mutual friends. Our families vacationed together in

2020.

Over the years, I’ve gotten to know Mike very well and trust him completely. For example, Maggie and I
recently allowed my daughter to join the Daniele family on a 5-day trip to New Hampshire.

1 am aware of the charges Mike faced in connection with the events of January 6, 2021, but wanted to
submit a personal reference on Mike’s behalf to offer you a more complete picture. I know Mike to be a
hard-working, trustworthy, helpful man of good moral character, who cares deeply about his family,
friends, and community.

Please feel free to contact me if you have any questions or would like to speak to me directly.

Sincerely,

Zan

Keith Purcell

